        Case 3:16-md-02741-VC Document 1659 Filed 08/14/18 Page 1 of 1




                             UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


 IN RE: ROUNDUP PRODUCTS                            MDL No. 2741
 LIABILITY LITIGATION
                                                    Case No. 16-md-02741-VC

 This document relates to:
                                                    PRETRIAL ORDER NO. 46: SETTING
 ALL ACTIONS                                        CASE MANAGEMENT CONFERENCE




       The parties are ordered to appear for a case management conference at 2:00 p.m. on

Thursday, September 13, 2018. The parties' joint case management statement is due seven days

before the conference. The parties need not use the typical format prescribed by the local rules,

but they must flag in the statement all matters they wish to discuss at the conference.



       IT IS SO ORDERED.
Dated: August 14, 2018
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge
